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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               10/20/2020
                                                                       :
MATTHEW COLPITTS, individually and on behalf of all :
other similarly situated,                                              :
                                                                       :
                                    Plaintiff,                         :     20-CV-2487 (JPC)
                                                                       :
                  -v-                                                  :       NOTICE OF
                                                                       :     REASSIGNMENT
BLUE DIAMOND GROWERS,                                                  :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment.

        Additionally, within two weeks of the filing of this Order, the parties are hereby

ORDERED to file on ECF a joint letter, described below, updating the Court on the status of the

case. The joint letter shall not exceed five (5) pages, and shall provide the following information,

to the extent it is relevant, in separate paragraphs:

        1.       Names of counsel and current contact information, if different from the information

                 currently reflected on the docket;

        2.       A brief statement of the nature of the case and/or the principal defenses thereto;

        3.       A brief explanation of why jurisdiction and venue lie in this Court. In any action

                 in which subject matter jurisdiction is founded on diversity of citizenship pursuant

                 to Title 28, United States Code, Section 1332, the letter must explain the basis for

                 the parties’ belief that diversity of citizenship exists.    Where any party is a
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         corporation, the letter shall state both the place of incorporation and the principal

         place of business. In cases where any party is a partnership, limited partnership,

         limited liability company, or trust, the letter shall state the citizenship of each of the

         entity’s members, shareholders, partners, and/or trustees;

4.       A statement of all existing deadlines, due dates, and/or cut-off dates;

5.       A statement of any previously scheduled conference dates with the Court that have

         not yet occurred and the matters that were to be discussed;

6.       A brief description of any outstanding motions, including the date of the motion

         and the nature of the relief sought;

7.       A statement and description of any pending appeals;

8.       A detailed statement of all discovery undertaken to date, including how many

         depositions each party has taken and what, if any, discovery remains that is essential

         for the parties to engage in meaningful settlement negotiations;

9.       A list of all prior settlement discussions, including the date, the parties involved,

         and the approximate duration of such discussions, if any;

10.      A statement of whether the parties have discussed the use of alternate dispute

         resolution mechanisms and indicating whether the parties believe that (a) a

         settlement conference before a Magistrate Judge; (b) participation in the District’s

         Mediation Program; and/or (c) retention of a privately retained mediator would be

         appropriate and, if so, when in the case (e.g., within the next sixty days, after the

         deposition of plaintiff is completed, after the close of fact discovery, etc.) the use

         of such a mechanism would be appropriate;

11.      An estimate of the length of trial; and

12.      Any other information that the parties believe may assist the Court in advancing

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               the case to settlement or trial, including, but not limited to, a description of any

               dispositive or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel are not required to submit

such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or other

proof of termination is filed on the docket prior to the joint letter submission deadline, using the

appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19, available at

http://nysd.uscourts.gov/ecf_filing.php. In accordance with the Court’s Individual Rules and

Practices, requests for extensions or adjournment may be made only by letter-motion filed on ECF

and must be received at least 48 hours before the deadline or scheduled appearance, absent

compelling circumstances. The written submission must state (1) the original date(s) set for the

appearance or deadline(s) and the new date(s) requested; (2) the reason(s) for the request; (3) the

number of previous requests for adjournment or extension; (4) whether these previous requests

were granted or denied; and (5) whether opposing counsel consents, and, if not, the reasons given

by opposing counsel for refusing to consent.

       SO ORDERED.

Dated: October 19, 2020                               __________________________________
       New York, New York                                      JOHN P. CRONAN
                                                             United States District Judge




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